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                                                     UNITED STATES DISTRICT COURT
               17                                  NORTHERN DISTRICT OF CALIFORNIA
                                                          OAKLAND DIVISION
               18
                       COALITION ON HOMELESSNESS, et al.,            Case No. 4:22-cv-05502-DMR
               19
                                                  Plaintiffs,        DECLARATION OF ZAL K. SHROFF
               20                 v.                                 IN SUPPORT OF PLAINTIFFS’ REPLY
               21                                                    IN SUPPORT OF MOTION FOR
                       CITY AND COUNTY OF SAN FRANCISCO,             PRELIMINARY INJUNCTION
               22      et al.,
                                              Defendants.            Judge:          The Hon. Donna M. Ryu
               23
                                                                     Hearing Date:   December 22, 2022
               24                                                    Time:           1:00 p.m.
               25                                                    Place:          Courtroom 4 – 3rd Floor
                                                                                     1301 Clay Street
               26                                                                    Oakland, CA 94612

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ATTORNEYS AT LAW
                                                                                        SHROFF DECLARATION
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                                                                                 SHROFF DECLARATION
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                   1                               DECLARATION OF ZAL K. SHROFF

                   2   I, Zal K. Shroff, hereby declare as follows:

                   3            1.    I am a Senior Staff Attorney with the Lawyers’ Committee for Civil Rights of the

                   4   San Francisco Bay Area (“LCCRSF”). I am also counsel of record for the Coalition on

                   5   Homelessness (the “Coalition”), Toro Castaño, Sarah Cronk, Joshua Donohoe, Molique Frank,

                   6   David Martinez, Teresa Sandoval, and Nathaniel Vaughn in the above-captioned action. I am

                   7   admitted to practice before this Court pro hac vice in the above-captioned matter.

                   8            2.    I submit this Declaration in support of Plaintiffs’ Reply in support of Plaintiffs’

                   9   Motion for Preliminary Injunction (the “PI Motion”). I have personal knowledge of the facts set

               10      forth herein, and if called as a witness, could and would testify competently to them.

               11      I.       WITNESS DECLARATIONS

               12               3.    LCCRSF has assisted the Coalition, its volunteers and staff, and several unhoused

               13      individuals in preparing declarations that document their direct observations of property

               14      destruction and criminalization of involuntary homelessness in San Francisco since Plaintiffs filed

               15      the instant PI Motion. I spearheaded this effort with assistance from a series of legal fellows and

               16      law clerks. After the PI Motion was filed, Plantiffs’ counsel was also contacted by two former City

               17      employees who wished to share their direct observations. Each of these declarations are described

               18      below.

               19               A.    Declarations from the Coalition on Homelessness’ Recent Monitoring Efforts

               20               4.    Attached as Exhibit 1 is a true and correct copy of a declaration executed by

               21      Christin Evans, a Coalition volunteer, on November 29, 2022 and submitted in support of

               22      Plaintiffs’ Reply in support of the PI Motion.

               23               5.    Attached as Exhibit 2 is a true and correct copy of a declaration executed by Ian

               24      James, a Coalition staff member, on November 30, 2022 and submitted in support of Plaintiffs’

               25      Reply in support of the PI Motion.

               26               6.    Attached as Exhibit 3 is a true and correct copy of a declaration executed by Dylan

               27      Verner-Crist, ACLU lead investigator, on November 30, 2022 and submitted in support of

               28      Plaintiffs’ Reply in support of the PI Motion.
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                   1           7.     Attached as Exhibit 4 is a true and correct copy of a declaration executed by

                   2   Jennifer Friedenbach, the Executive Declaration of the Coalition on Homelessness, on November

                   3   30, 2022 and submitted in support of Plaintiffs’ Reply in support of the PI Motion.

                   4           B.     Declarations from Unhoused Persons

                   5           8.     Attached as Exhibit 5 is a true and correct copy of a declaration executed by Toro

                   6   Castaño, one of the Individual Plaintiffs in this action, on November 4, 2022 and submitted in

                   7   support of Plaintiffs’ Reply in support of the PI Motion.

                   8           9.     Attached as Exhibit 6 is a true and correct copy of a declaration executed by Darrah

                   9   Reasor, a currently unhoused individual, on October 28, 2022 and submitted in support of

               10      Plaintiffs’ Reply in support of the PI Motion.

               11              10.    Attached as Exhibit 7 is a true and correct copy of a declaration executed by JD

               12      Cobb, a currently unhoused individual, on October 28, 2022 and submitted in support of Plaintiffs’

               13      Reply in support of the PI Motion.

               14              11.    Attached as Exhibit 8 is a true and correct copy of a declaration executed by Joseph

               15      Williams, a currently unhoused individual, on November 18, 2022 and submitted in support of

               16      Plaintiffs’ Reply in support of the PI Motion.

               17              C.     Declarations from Former City of San Francisco Employees

               18              12.    Attached as Exhibit 9 is a true and correct copy of a declaration executed by

               19      Andrinna Malone, a former employee of the City’s Department of Public Works, on November

               20      29, 2022 and submitted in support of Plaintiffs’ Reply in support of the PI Motion.

               21              13.    Attached as Exhibit 10 is a true and correct copy of a declaration executed by Kaki

               22      Marshall, a former employee of the City’s Department of Homelessness, on November 30, 2022

               23      and submitted in support of Plaintiffs’ Reply in support of the PI Motion.

               24      II.     DOCUMENTARY EVIDENCE

               25                                    LCCRSF Public Records Requests

               26              14.    LCCRSF issued public records requests to various San Francisco city agencies

               27      including the San Francisco Department of Public Works, San Francisco Police Department,

               28      Department of Homelessness and Supporting Housing, and the Department of Emergency
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                   1   Management in the days leading up to the filing of Plaintiffs’ PI Motion. These public records

                   2   requests addressed the City’s response to homeless encampments and treatment of unhoused

                   3   individuals, including requests for records pertaining to criminal enforcement, property

                   4   storage/destruction, shelter availability, and scheduled sweep operations throughout the City—

                   5   particularly for the time period of 2021-2022.

                   6           15.    LCCRSF legal fellow Hadley Rood submitted these records requests on behalf of

                   7   LCCRSF under my supervision, and we collected all responsive documents provided by City

                   8   agencies. LCCRSF sent or received the following relevant documents.

                   9           16.    Attached hereto as Exhibit 11 is a true and correct copy of a Public Records

               10      Request submitted by LCCRSF to the Department of Public Works, dated September 13, 2022.

               11              17.    Attached hereto as Exhibit 12 is a true and correct copy of summary “Bag and Tag”

               12      logs produced by the Department Public Works dated between January 2022 to September 2022

               13      in response to the Public Records Request filed by LCCRSF on September 13, 2022.

               14              18.    Attached hereto as Exhibit 13 is a true and correct copy of the San Francisco Police

               15      Department’s response to LCCRSF’s Public Record Request, which was prepared October 6,

               16      2022.

               17              19.    Attached hereto as Exhibit 14 is a true and correct copy of an excel file entitled

               18      “P83977_LCCR” produced by the San Francisco Police Department in response to a Public

               19      Records Request filed by LCCRSF on September 13, 2022.

               20              20.    Attached hereto as Exhibit 15 is a true and correct copy of a Public Records

               21      Request submitted by LCCRSF to the Department of Homelessness and Supportive Housing, dated

               22      September 13, 2022.

               23              21.    Attached hereto as Exhibit 16 is a true and correct copy of San Francisco’s daily

               24      shelter allocation for the period of approximately January 2022 to mid-October 2022 produced by

               25      the Department of Homelessness and Supportive Housing in response to LCCRSF’s Public Record

               26      Requests.

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                   1                                   Records Produced by Defendants

                   2            22.    On November 7, 2022, this Court ordered Defendants to produce certain records to

                   3   the extent Defendants relied on those records in opposition to Plaintiffs’ Motion for Preliminary

                   4   Injunction. See Dkt. No. 44.

                   5            23.    Attached hereto as Exhibit 17 is a true and correct copy of HSOC encampment

                   6   reports for the period from August 30, 2021 to November 8, 2022 produced by Defendants on

                   7   November       17,   2022,     bearing   Bates    stamps,     CCSF_COH_PI_HSOC_000460              to

                   8   CCSF_COH_PI_HSOC_000470.

                   9   III.     PARTIES’ CORRESPONDENCE

               10               24.    Attached hereto as Exhibit 18 is a true and correct copy correspondence between

               11      the parties between the period of November 7, 2022 and November 29, 2022 discussing

               12      Defendants’ failure to provide notice of certain sweep operations taking place on November 6,

               13      2022 and November 7, 2022, as well as Defendants’ refusal to produce unredacted SFPD reports

               14      that would aid Plaintiffs’ counsel in effectively monitoring SFPD’s interactions with unhoused

               15      individuals.

               16      IV.      OTHER MATERIAL

               17               25.    On November 14, 2022, Leslie Dreyer’s video documentary series—called Stolen

               18      Belonging—released yet another episode revealing recent interviews with several unhoused

               19      individuals and City workers regarding the seizure and destruction of unhoused people’s property.

               20      The newest release can be found here: https://youtu.be/z-LHy9mZ30o.

               21
                               I declare under penalty of perjury that the foregoing is true and correct, and that I executed
               22      this declaration on December 1, 2022 in San Francisco, California.
               23                                                        /s/ Zal K. Shroff
                                                                         Zal K. Shroff
               24
                                                                         Attorney for Plaintiffs Coalition on
               25                                                        Homelessness, Toro Castaño, Sarah Cronk, Josh
                                                                         Donohoe, Molique Frank, David Martinez,
               26                                                        Teresa Sandoval, and Nathaniel Vaughn
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                                                               ATTESTATION
                   3
                              I, Alfred C. Pfeiffer, Jr. am the ECF user whose user ID and password authorized the
                   4
                       filing of this document. Under Civil L.R. 5-1(h)(3), I attest that all signatories to this document
                   5
                       have concurred in this filing.
                   6
                       Dated: December 1, 2022                                      /s/ Alfred C. Pfeiffer, Jr.
                   7
                                                                                    Alfred C. Pfeiffer, Jr.
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